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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TIKTOK INC. and BYTEDANCE LTD.,

                       Plaintiffs,

        v.                                            Civil Case No. 20-cv-2658

DONALD J. TRUMP, in his official capacity as
President of the United States; WILBUR L.
ROSS, JR., in his official capacity as Secretary
of Commerce; and U.S. DEPARTMENT OF
COMMERCE,

                       Defendants.


                       DECLARATION OF PROFESSOR STEVEN WEBER

       I, Steven Weber, under penalty of perjury, hereby declare as follows:

       1.      I am Professor and Associate Dean of the School of Information, and Professor of

Political Science, at the University of California, Berkeley. I am also the founder and faculty

director of the Center for Long Term Cybersecurity at UC Berkeley, where I lead a multi-

disciplinary research group that works on emerging digital security issues at the intersection of

new technologies, human behavior, and risk calculations made by firms and governments. I

received a Ph.D. in political science at Stanford University in 1989 and have been a professor at

Berkeley since 1989. I have attached a true and complete copy of my curriculum vitae to this

declaration.

       2.      I focus upon U.S. national security issues with particular expertise in how digital

technologies impact and are impacted by national and international security. I have written three

relevant university press peer-reviewed books and a number of peer-reviewed journal articles on

this subject, as well as many other articles for non-peer reviewed publications. I have served as a
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consultant to a wide variety of U.S. and global firms as well as U.S. government agencies dealing

with strategic issues at the intersection of national security and the digital economy.

       3.      I have been retained by the plaintiffs in this case to analyze the stated justifications

of President Trump’s Executive Order of August 6, 2020 relating to the TikTok software

application (“the August 6 order”), which are incorporated by reference in the Department of

Commerce action issued on September 20, 2020. 1 As I discuss below in greater detail, these

justifications center on two issues: (1) the security of the data that TikTok collects from its users,

particularly as it relates to possible disclosure to the Chinese government; and (2) the possibility

that the TikTok recommendation algorithm (i.e., the computer code that selects what videos to

present in a user’s feed) could be misused for the benefit of the Chinese government, either by

censoring content or for affirmative propaganda or disinformation campaigns. 2

       4.      As I discuss below, these issues are not unique or even distinctive to TikTok. It is

inherent in digital technologies that every company, governmental entity, and non-governmental

organization faces risks to the security of the data it stores—whether on behalf of employees,




1
   The Department of Commerce action, which is entitled “Identification of prohibited
transactions,” does not elaborate upon or add new justifications to the stated justifications provided
by President Trump in his August 6 order.
2
  The order states that: “These risks are real. The Department of Homeland Security,
Transportation Security Administration, and the United States Armed Forces have already banned
the use of TikTok on Federal Government phones. The Government of India recently banned the
use of TikTok and other Chinese mobile applications throughout the country; in a statement,
India’s Ministry of Electronics and Information Technology asserted that they were ‘stealing and
surreptitiously transmitting users’ data in an unauthorized manner to servers which have locations
outside India.’ American companies and organizations have begun banning TikTok on their
devices.” I note that this statement refers to steps taken by various organizations to respond to
their perception of threat posed by TikTok, and is not an independent justification for the steps
taken in the order.


                                                  2
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customers, or others. 3 Such major U.S. companies as Yahoo, Target, Equifax, eBay, LinkedIn and

many others have suffered well-known breaches of millions of user records. 4 As for the asserted

issues pertaining to TikTok’s algorithm—which are better understood as assertions pertaining to

‘algorithmic integrity’—those are likewise issues that the social media and many other industries

are dealing with more generally and have been for years. For example, YouTube has added

disclaimers to certain channels that are reportedly being used to spread disinformation on behalf

of the Russian government. 5

         5.      Before turning to these specific issues, there are two general information security

principles that should be kept in mind. First, data security is not a binary switch that can be toggled

on or off. There are always tradeoffs being made among the three core components of security:

confidentiality, integrity, and availability of data. 6 As with many enterprise risks, data security is

an exercise in risk management—identifying risks, assessing them, and mitigating those risks to

acceptable levels at an appropriate cost. 7 Second, when it comes to data security threats, it is




3
    See, e.g., U.S. Department of Homeland Security, Cybersecurity Strategy (May 15, 2018).
4
 See the summary review of recent large data breaches in Dan Swinhoe, The 15 Biggest Data
Breaches    of    the   21st     Century,    CSO      Online,    (April    17,    2020),    at
https://www.csoonline.com/article/2130877/the-biggest-data-breaches-of-the-21st-century.html.
5
  Paresh Dave, Russian disinformation on YouTube draws ads, lacks warning labels: researchers,
Reuters (June 7, 2019), at https://www.reuters.com/article/us-alphabet-google-youtube-
russia/russian-disinformation-on-youtube-draws-ads-lacks-warning-labels-researchers-
idUSKCN1T80JP.
6
 This ‘CIA’ triad is carefully explained by NIST in Standards for Security Categorization of
Federal      Information      and    Information   Systems,    FIPS     PUB      199,     at
https://nvlpubs.nist.gov/nistpubs/FIPS/NIST.FIPS.199.pdf.
7
  See, e.g., U.S. Department of Homeland Security, Cybersecurity Strategy; National Institute of
Standards and Technology, Special Publication 800-53, Security and Privacy Controls for Federal
Information Systems and Organizations 12 (April 2013).


                                                  3
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virtually impossible to prove the negative and establish that there are no risks to a particular

network or data storage and management system. 8 Sophisticated organizations and information

security professionals understand that malicious actors are constantly evolving, which means the

threat landscape is always changing. Even an organization that maintains best-in-class security

practices across the board cannot with full confidence assert that there is no risk that its data could

be inadvertently accessed or disclosed. These principles form the basis of the most sophisticated

data security programs and strategies in the most advanced organizations.

       6.      With the foregoing as background, I address the two issues cited as justifications

for the August 6 order: data security and algorithmic integrity.

I.     Data Security

       7.      The first stated basis for the August 6 order is that: “TikTok automatically captures

vast swaths of information from its users, including Internet and other network activity information

such as location data and browsing and search histories. This data collection threatens to allow

the Chinese Communist Party access to Americans’ personal and proprietary information —

potentially allowing China to track the locations of Federal employees and contractors, build

dossiers of personal information for blackmail, and conduct corporate espionage.”

       8.      As an initial matter, the assertion that TikTok “captures vast swaths of information

from its users” is principally a statement about data privacy, not data security. There is a separate

policy debate about the extent to which social media and other digital product companies collect

information from users, and this debate is beyond the scope of my testimony. The August 6 order

does not maintain that TikTok’s data collection practices are themselves the basis for the order,



8
 Shuman Ghosemajumder, You Can’t Secure 100% of Your Data 100% of the Time, Harvard
Business Review (Dec. 4, 2017), at https://hbr.org/2017/12/you-cant-secure-100-of-your-data-
100-of-the-time.


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except insofar as this collection “threatens to allow the Chinese Communist Party” access to the

data that has been collected. This is an assertion about a data security risk because it is an issue of

who has access to data and for what purpose. I focus on principles of data security in analyzing

this aspect of the order.

        9.      As security professionals in industry and regulators have responded to the threats

of data breaches and other threats to data security, they have increasingly coalesced around a set

of best practices for mitigating data security risk. 9 A comprehensive overview of these data

security best practices is beyond the scope of this testimony but there are a few important standards

around security controls that are particularly relevant to the concerns expressed in the August 6

order. First, it is preferable from a data security perspective to segment and tightly control access

to a company’s sensitive data, such as TikTok’s U.S. user data in this case, and to maintain and

audit access logs so that any deviations from expected behaviors, including unauthorized access,

can be identified and addressed. 10 Second, sensitive user data should be stored in encrypted form

using industry-standard methods, rather than unencrypted form. This is essential because if stored

data (‘at rest’) should somehow be the subject of an unauthorized access, it will be indecipherable

to and unusable by persons or organizations who lack an encryption key. 11 Similarly, when data

is being transmitted across the Internet, it is equally important from a data security standpoint to


9
  See Federal Trade Commission, Start with Security (June 2015); Thomas B. Pahl, Stick with
Security: Segment your network and monitor who’s trying to get in and out (Aug. 25, 2017), at
https://www.ftc.gov/news-events/blogs/business-blog/2017/08/stick-security-segment-your-
network-monitor-whos-trying-get; National Institute of Standards and Technology, Framework
for Improving Critical Infrastructure Cybersecurity (April 16, 2018).
10
   See for example CISCO’s A Framework to Protect Data Through Segmentation at
https://tools.cisco.com/security/center/resources/framework_segmentation.
11
    See for example Microsoft’s Azure Data Encryption at Rest (Aug. 13 2020), at
https://docs.microsoft.com/en-us/azure/security/fundamentals/encryption-atrest.


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encrypt the data ‘in motion’—this similarly will prevent any malicious actor who is able to

intercept the data in transmission from using it in any meaningful way. 12 Third, the encryption

keys themselves must be secure from unauthorized access, and companies should have robust

review processes for assessing legitimate business need to access data at any time in decrypted

form. 13

           10.   I have reviewed the declaration of Roland Cloutier, TikTok’s Chief Security

Officer, and have also reviewed other data security-related materials the company has made public.

At a high level, TikTok’s approach to data security is in line with other sophisticated technology

companies that employ industry best practices. In particular and with respect to the most important

practices discussed above, I note that TikTok has segmented U.S. user data, and has imposed

access control and auditing policies that limit and track access to customer data. TikTok encrypts

user data in storage and during transmission using industry-standard Key Management Service

algorithms. TikTok’s U.S.-based security team manages the keys that are needed to decrypt the

data for legitimate purposes. ByteDance personnel cannot access these data except through a

formal approval process that requires documented and demonstrated need and is subject to

approval by the U.S.-based security team, on a least-privilege basis (meaning that approval is

granted for the lowest level of access sufficient for the requested work). These controls are

consistent with industry best practice.

           11.   I note also that these controls are particularly responsive to the asserted basis for




12
   See for example Avast Security’s Data in Transit Encryption (April 25, 2020), at
https://securityboulevard.com/2020/04/data-in-transit-encryption-avast/.
13
  See for example NIST’s Cryptographic Key Management: What are Best Practices for
Organizations? (April 11, 2018), at https://csrc.nist.gov/News/2018/NIST-releases-Draft-SP-800-
57-Part-2-Rev-1.


                                                   6
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the August 6 order, since they mitigate the risk of an ‘insider’ associated with the Chinese

government accessing and disclosing U.S. customer data to the Chinese government. (Of course,

the hypothetical risk that an engineer might seek to disclose user data to the Chinese government

is not limited to companies that are owned by Chinese nationals or headquartered in China. Many

multinationals have extensive software and other engineering operations in China, for example,

which would present effectively the same risk.)

II.       Algorithm Security

          12.     The second stated justification for the August 6 order pertains to the

recommendation algorithm. The order states: “TikTok also reportedly censors content that the

Chinese Communist Party deems politically sensitive, such as content concerning protests in Hong

Kong and China’s treatment of Uyghurs and other Muslim minorities. This mobile application

may also be used for disinformation campaigns that benefit the Chinese Communist Party, such as

when TikTok videos spread debunked conspiracy theories about the origins of the 2019 Novel

Coronavirus.”

          13.     The term ‘censorship’ has a pejorative connotation, but content moderation and

algorithmic curation in online platforms are not prima facie equivalent to censorship. The issue

around censorship is whether an algorithm of this kind can be used to manipulate opinions or

change perspectives in illegitimate ways. Here again, this is an industry-wide issue and not an

issue limited to TikTok. The same concerns apply to a wide range of digital media providers, such

as Facebook, Instagram, Apple News, and essentially all digital content providers. Twitter

attempts to block violence-promoting tweets. 14 Facebook has an evolving set of policies that




14
     https://help.twitter.com/en/rules-and-policies/twitter-rules.


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attempt to block various kinds of hate speech. 15 YouTube has modified its content promotion

policies in an attempt to reduce radicalization and the firm reports, for example, that it removed

over 11 million videos from the site in the 3 month period spanning April to June 2020. 16

         14.     From a national security perspective, the question is whether the algorithm is

legitimately shaping the flow of content in accordance with a commercial product strategy, along

with appropriate restrictions to counter illegal or otherwise proscribed activity (such as hate

speech) consistent with public terms of use.         Or is the algorithm illegitimately seeking to

manipulate users’ perspectives and opinions in directions that serve a foreign states’ short and long

term strategic interests at odds with those of the United States. Specifically with regard to TikTok,

that resolves into the following question: does there exist evidence and reason to believe that

TikTok is now or would become essentially an algorithmic propaganda tool of the Chinese

government or Chinese communist party?

         15.     Based on the information I have reviewed, my conclusion to this question is “no.”

The starting point for this assessment is that a small number of anecdotes about ‘censored’ or

‘promoted’ content (such as those cited in the August 6 order) do not in and of themselves

demonstrate a national security risk. That is partly because algorithmic content moderation and

user experience customization is based on a fast-evolving science that involves state-of-the-art

machine learning techniques to solve some of the hardest problems in image recognition, natural

language processing, and other related areas that sometimes go under the label of ‘Artificial

Intelligence’. Like humans, algorithms make mistakes and learn from those mistakes (thus the

term ‘machine learning’ is a more accurate and useful descriptor than is ‘artificial intelligence’).



15
     https://www.facebook.com/communitystandards/.
16
     https://transparencyreport.google.com/youtube-policy/removals?hl=en.


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In most firms, algorithmic moderation is supplemented by human content moderators who

typically make assessments about ‘gray’ or uncertain cases where algorithmic decision making is

ambiguous, as well as overseeing how algorithms perform relative to the platforms’ strategy. The

question, accordingly, is whether social media platforms react and evolve as they develop their

technologies and practices over time and in response to concerns, complaints, and errors.

       16.     An example of this evolutionary process can be seen in public reports of how

ByteDance responded to allegations that its news aggregator app in Indonesia (known locally as

Baca Berita or BaBe) was in 2018 removing articles that could be construed as critical of the

Chinese government. 17 BaBe was purchased by ByteDance in 2018 after TikTok, which had

experienced explosive growth among young Indonesians very much like it has inside the United

States, was temporarily banned in Indonesia for ‘inappropriate content’ including pornography.

As part of ByteDance’s efforts to persuade the Indonesian government to reverse the ban, an

agreement was reached to hire a team of local moderators for TikTok. Around the same time, a

source reported that local content moderation practices at BaBe were being inappropriately

influenced by a team from ByteDance’s offices in Beijing, while BaBe maintained that it

moderated content according to its local terms of service and Indonesian law. ByteDance and

BaBe report different dates around which these practices changed, but what is clear is that by mid-

2020 articles on previously restricted topics that formed the basis of the censorship accusation

were available to read on the platform. This example is relevant because it bears directly on the

processes by which content moderation (both algorithmic and human) evolves and provides a




17
  Fanny Potkin, Exclusive: ByteDance Censored Anti-China Content in Indonesia Until Mid-
2020, Sources Say, Reuters Business News (Aug. 13, 2020), at https://www.reuters.com/article/us-
usa-tiktok-indonesia-exclusive/exclusive-bytedance-censored-anti-china-content-in-indonesia-
until-mid-2020-sources-say-idUSKCN2591ML.


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template against which to assess what is being done and proposed for TikTok’s U.S. operations.

       17.      In other words, algorithms must be understood in conjunction with companies’

overall strategic choices about content curation and with human content moderation teams that are

called on to deal with ambiguous or particularly complicated cases. TikTok’s content moderation

for U.S. users, importantly, is led by a team in the United States. Going further, TikTok in late

July 2020 announced the creation of a ‘Transparency and Accountability Center’ where outside

experts and researchers will have the opportunity to “observe our moderation policies in real-time,

as well as examine the actual code that drives our algorithms.” 18 This is a very positive move and

is unprecedented for technology or social media companies. In my view TikTok here sets a new

‘gold standard’ that other social media companies will be pressured to meet, to the overall good of

the industry.

III.   Conclusion

       18.      Social media platforms like TikTok raise important policy issues, including the

appropriate protection of user data, content moderation, and disinformation. These are legitimate

issues to consider from a policy perspective, but they are issues that the industry confronts as a

whole and are not unique or distinctive to TikTok. As I have discussed above, TikTok’s approach

for dealing with these issues is generally in line with—and in some respects markedly better than—

industry best practices, even for companies that hold significant sensitive user data. In light of the

foregoing, there is no evident national security rationale for banning TikTok, as the August 6 order

has directed. It is arbitrary to select one market participant and ban that particular firm for policy

issues that an entire industry faces. This is particularly the case where there exists alternative




18
   Kevin Mayer, Fair Competition and Transparency Benefits Us All, TikTok blog (July 29, 2020),
at https://newsroom.tiktok.com/en-us/fair-competition-and-transparency-benefits-us-all.


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mechanisms—the mitigation proposals made in the CFIUS process—that enable U.S. government

agencies to mitigate national security risks around data and algorithms beyond what they would

be currently be able to achieve with competitor firms.

       Pursuant to 28 U.S.C. § 1746 and under penalty of perjury, I affirm that the foregoing facts

are true and correct to the best of my knowledge.




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Major Fields of Work

International Relations Theory, particularly theories about cooperation and competitiveness
International Institutions
Political Economy of Networks/Internet
European Union Politics
American Foreign Policy, particularly National Security and FDI Issues
Applications of Cognitive and Behavioral Psychology to Decision-making Research
Scenarios and Strategic Planning

Education

July 1988 June 1989 Postdoctoral Fellow Center for International Affairs, Harvard University
March 1985 June 1988Ph.D., Stanford Dept. of Political Science
Sept. 1982 June 87M.D. Student, Stanford Medical School
Sept 1984 March 85M.A. Stanford Dept. of Political Science
Sept 1979 June 82 B.A. Washington University (History, International Development)


Major External Grants and Fellowships

Summer 2017: MacArthur Foundation, Protecting Vulnerable Individuals Online
Winter 2016: Hewlett Foundation, Privacy and Internet of Things
Winter 2015: Hewlett Foundation, Center for Long Term Cybersecurity
Winter 2012: Kaufmann Foundation, Political Economy of Shared Data
Fall 2007: Energy Biosciences Institute Principal Investigator
Winter 2005: Carnegie Corporation and Rockefeller Brothers Fund Grants for New Era
Foreign Policy Project (Carnegie renewed in 2008, 2011, 2013, 2015, 2018)
Winter 2004: NSF, Information Technology for Billions (IT4B)
Spring 2003: SITRA Grant, Research in Open Innovation Networks
Winter 2002: Ford Foundation Grant, Scholar in Information Technology and International
Relations
June 2001: Senior Advisor, Policy for A Networked Society, The Markle Foundation, NY.
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April 2001: Industry-University Consortium Research Policy Grant for Open Source Software
Research
June 2001: European Union Center Grant
January 1995L MacArthur Foundation program in Multilateral Institutions in World Politics at
Berkeley (3 year renewal).
1995-96: Fellow at Center for Advanced Studies in Behavioral Sciences, Stanford CA
January 1992: Simpson Chair in International Studies at University of California, Berkeley.
June 1991: Council on Foreign Relations, International Affairs Fellowship (term: Calendar Year
1992) Position: Political Consultant to the President, European Bank for Reconstruction and
Development, London.
June 1989: Helen Dwight Reid Award of American Political Science Association, Best
Dissertation in International Relations
July 1987: "New Faces" in International Security Conference, IISS and Rockefeller Foundation,
Bellagio, Italy.
April 1987: Arms Control Fellow (Predoctoral), Stanford Center for International Security and
Arms Control
Jan. 1986: U.S. Department of Education, National Graduate Fellow in Political Science
Nov. 1985: MacArthur Fellow in International Security Studies, Stanford


Administrative Appointments

Director, Institute of International Studies, UC Berkeley. 2004-2009
Director, Center for Long Term Cybersecurity, UC Berkeley, 2015 - ongoing
Associate Dean, I School and CDSS, 2020-ongoing


Major Publications

Books

Bloc By Bloc: How to Organize a Global Enterprise Harvard University Press, 2019

The End of Arrogance: America in the Global Competition of Ideas Harvard University Press,
2010 (with Bruce Jentleson)

The Success of Open Source Harvard University Press, 2004.

Cooperation and Discord in US-Soviet Arms Control, Princeton University Press, 1991.


Edited Books

Deviant Globalization: Black Market Economy in the 21st Century Continuum Press, 2011 (with
Nils Gilman and Jesse Goldhammer)
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Globalization and The European Political Economy Columbia University Press, 2001.

European Integration and American Federalism: A Comparative Perspective              (with Richard
Herr). Berkeley: University of California, International and Area Studies, 1996.



Monographs

Shaping the Postwar Balance of Power 19471961: Multilateralism in NATO, UC Berkeley
Institute of International Studies, Research Papers in International Affairs, Spring 1991. A shorter
version of this monograph appears as a chapter in Multilateralism Matters: The Anatomy of an
Institution, edited by John Ruggie, Columbia University Press, 1993.

Cybersecurity Futures 2020. Report issued by the Center for Long Term Cybersecurity UC
Berkeley 2015

Coauthored Books

Tracking A Transformation (with BRIE co-authors). Brookings Institution Press, 2001.

The Highest Stakes: Economic Foundations of the New Security Order, Oxford University
Press, 1992. (with John Zysman, Micheal Borrus, et. al.


Selected Papers

"Realism, Detente, and Nuclear Weapons", International Organization 44. Winter 1990.

"Cooperation and Interdependence", Daedalus, 120, Winter 1991. [Reprinted in Emannuel Adler,
ed., The Theory and Practice of Arms Control, Johns Hopkins University Press, 1992.]

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Harvard University Center for European Studies, 1992.

"Shaping the Postwar Balance of Power", International Organization 46. Summer 1992.

"Mercantilism and Global Security" (with John Zysman and Michael Borrus), The National
Interest, Autumn 1992.

"Origins of the European Bank for Reconstruction and Development", International
Organization 48. Winter 1994.

"International Political Economy 'After' The Business Cycle".      Journal of Social, Political, and
Economic Studies. 21. Fall 1996.
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"The Changing Politics of EMU", Swiss Political Science Review. 2. Fall 1996.

“The End of the Business Cycle?” Foreign Affairs July-August 1997.

“Prediction and the Middle East Peace Process”, Security Studies 6. Summer 1997.

“Emerging Markets: Good for US? Good for Everyone?” (with Elliot Posner), Brown Journal of
International Affairs. Summer 1998.

"Five Scenarios of the Israeli-Palestinian Relationship in 2002," Security Studies 7. Summer 1998
(with Janice Stein et.al.)

“Organizing International Politics: Sovereignty and Open Systems,” (with Christopher Ansell)
International Political Science Review. January 1999.

“A Certain Idea of Nuclear Weapons: France’s Non-Proliferation Policies in Theoretical
Perspective,” (with Nicolas Jabko), Security Studies 8. Winter 1999.

“God Gave Physics the Easy Problems: Adapting Social Science to an Unpredictable World,”
European Journal of International Relations 6. Winter 2000. (with Janice Stein, Ned Lebow,
and Steven Bernstein)

“International Organizations and the Pursuit of Justice in the World Economy,” Ethics and
International Affairs, Winter, 2000.

“Creating a Pan-European Equity Market: The Origins of EASDAQ,” Review of International
Political Economy Winter 2001 (with Elliot Posner)

“The Political Economy of Open Source Software” BRIE Working Paper # 140, University of
California, Berkeley. At http://brie.berkeley.edu/~briewww/pubs/wp/wp140.pdf (A shorter
version is published in Tracking a Transformation, Brookings Institution, 2001).

"E-Finance and the Politics of Transitions," in "Electronic Finance: A New Perspective and
Challenges," BIS Paper No. 7 (Bank of International Settlements, November 2001). (with John
Zsyman)

“The New Economy and Economic Growth in Developing Countries: Speculations on the
Meaning of Information Technology for Emerging Markets”, (with John Zysman). Emergo: A
Journal of Transforming Economies and Societies, 2003.

“Will Information Technology Reshape the North-South Asymmetry of Power in the Global
Political Economy?” (with Jennifer Bussell). Studies in Comparative International Development
40. Summer, 2005.

“Getting to No,” (with James Goldgeier), The National Interest, Winter 2006.
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“The International Implications of China’s Fledgling Regulatory State: From Product Maker to
Rule Maker” (with Abraham Newman and David Bach), New Political Economy December 2006.

“How Globalization Went Bad” (with Naazneen Barma, Ely Ratner, and Matthew Kroenig),
Foreign Policy 2007.

“A World Without the West,” (with Naazneen Barma and Ely Ratner), The National Interest.
2007.

"America's Hard Sell," (with Bruce Jentleson), Foreign Policy 2008.

“A World Without the West: Empirical Patterns and Theoretical Implications,” Chinese Journal
of International Politics 2, 2009. (with Naazneen Barma, Giacomo Chiozza, and Ely Ratner)

“Taking Soft Power Seriously,” Comparative Strategy 2010 (with Matthew Kroenig and Melissa
McAdam)

“The Mythical Liberal Order”, The National Interest 2013 (with Naazneen Barma and Ely
Ratner)

‘Visualizing ambivalence: showing what mixed feelings look like’. (with Galen Panger and Bryan
Rea) 2013. InCHI '13 Extended Abstracts on Human Factors in Computing Systems(CHI EA
'13). ACM

‘Back in the USSR: Is the European Union Heading for a Soviet-Style Collapse?’ The American
Interest (with Nils Gilman) December 2016

“The New World of Data: Four Provocations on the Internet of Things” (with Richmond Wong),
First Monday February 2017.

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2017

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Cooper), Bulletin of the Atomic Scientists October 2017.

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2018.
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.
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Achievements, Failures, Lessons. Alexander George, Phillip Farley, Alexander Dallin, editors. Oxford
University Press, 1988. (with Sidney Drell)

"Interactive Learning in US Soviet Arms Control", in Learning in US and Soviet Foreign Policy,
George Breslauer and Philip Tetlock, eds., Westview Press, 1991.

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